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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Rhode Island

 

 

 

United States of America ) /
v. ) f
) Case No./ ; “ Ke 7) /7>
Charles Morancey
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 2, 2019 in the county of in the
District of Rhode Island , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2423(a); and Transportation of Minor with Intent to Engage in Criminal Sexual Activity; and
18 U.S.C. § 2252(a)(2) Receipt of Child Pornography

This criminal complaint is based on these facts:

See the attached Affidavit of Task Force Officer Kerri A. Chatten, of the Federal Bureau of Investigation ("FBI").

@ Continued on the attached sheet.

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“no \ Complainant's signature

Task Force Officer Kerri A. Chatten - FBI

 

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Sworn to before me and signed in my presence. \ \ /
0 \ On -
Date: er AG. 20/4 \ a

/ \ “oe ; Judge's signature
City and state: Providence, Rhode Island ~~ Patricia A. Sullivan, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT

I, Kerri A. Chatten, a Warwick Police Detective assigned as a Task Force Officer on
the Child Exploitation Task Force with the Federal Bureau of Investigation (FBI), hereby make
this affidavit in support of a complaint against CHARLES MORANCEY, who there is probable
cause to believe: (1) did knowingly transport an individual who had not attained the age of 18
years in interstate commerce, with intent that the individual engage in any sexual activity for
which any person can be charged with a criminal offense, in violation of 18 U.S.C. § 2423(a)
(Count One — Transportation of Minor with Intent to Engage in Criminal Sexual Activity), and
(2) did knowingly receive any visual depiction using any means or facility of interstate
commerce, by any means, including by computer, if the producing of such visual depiction
involved the use of a minor engaging in sexually explicit conduct and such visual depiction was
of such conduct, in violation of 18 U.S.C. § 2252(a)(2) (Count Two — Receipt of Child
Pornography).

1. Ator about 4:00 p.m. on August 2, 2019, the father of Minor Victim #1 contacted
the police in Hopkins, Michigan to report that Minor Victim #1 had run away from home. Minor
Victim #1, who was 15 years old, had left a note in the family house indicating that she had run
away. The parents of Minor Victim #1 had no idea of their daughter’s whereabouts.

2. Among other pieces of information, the parents of Minor Victim # 1 provided the
Allegan County Sherriff’s Office with their daughter’s Instagram account name. Officers
discovered that one “follower” of Minor Victim #1 on Instagram had been recently removed.
That follower had an Instagram name of “the.love.experience.” The name attached to that

Instragram name was Joseph Charles Love. Officers located a Joseph Charles Love account on

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Instagram and Facebook that stated that it was operated by an adult male in his early 40’s from
the Rhode Island area. On Facebook, officers located a post from Joseph Charles Love stating
that his actual name was Charles Joseph Morancey.

3. On August 6, 2019, the Allegan County Sherriff’'s Department obtained an urgent
search warrant for Minor Victim #1’s Instagram account. Results from that search revealed that
Minor Victim #1 logged onto her Instagram account on August 5, 2019. The IP address from
which this log-on occurred showed that Minor Victim #1 logged on to her Instagram account at
1110 Main Avenue, Warwick, Rhode Island, the residence of defendant CHARLES
MORANCEY. The Allegan County Sherriff’s Department then contacted the Warwick Police
Department for assistance in locating Minor Victim #1.

4. On August 6, 2019, detectives with the Warwick Police Department went to 1110
Main Avenue, Warwick, Rhode Island, and knocked on the front door. Minor Victim #1 opened
the door. Minor Victim #1 retrieved her personal belonging from the residence and was escorted
to Warwick Police headquarters.

5. Minor Victim #1 gave a voluntary recorded statement to Warwick detectives. She
stated that she met the man she knew as “Charles” on Instagram several weeks beforehand. She
stated that she informed Charles that she was fifteen years old and that he advised her that he was
43. Minor Victim #1 further stated that she and defendant CHARLES MORANCEY engaged in
sexually explicit communications through Instagram. Minor Victim #1 stated that she was
experiencing difficulties in her home life and that she and defendant CHARLES MORANCEY
made a plan for her to run away from home. Minor Victim #1 further stated that defendant
MORANCEY drove from Rhode Island to Michigan and picked her up from her house during

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the afternoon of August 2, 2019. MORANCEY then transported Minor Victim #1 to his house in
Warwick, Rhode Island, where they arrived on August 3, 2019. Minor Victim #1 stated that she
engaged in sexual conduct, including sexual intercourse, with defendant MORANCEY on
numerous occasions from August 2, 2019 through August 6, 2019, including in a rest area in
Indiana on the way to Rhode Island and in defendant’s house in Warwick, Rhode Island.

6. Atapproximately 5:10 p.m. on August 6, 2019, Warwick police officers observed
a vehicle that was known to be operated by defendant CHARLES MORANCEY. The vehicle
was pulled over and defendant CHARLES MORANCEY was taken into custody. After being
advised of and waiving his Miranda rights, MORANCEY provided a recorded statement to
police officers. MORANCEY admitted that he knew that Minor Victim #1 was 15 years old and
that he drove to Michigan, picked her up at her home, and engaged in sexual relations with
Minor Victim #1 at a rest stop on the way home and in his house in Warwick. MORANCEY
claimed that his motivation for taking Minor Victim #1 from her home in Michigan was to
protect her from an abusive home environment she claimed to exist.

7. On August 6, 2019, the Allegan County Sheriff Department applied for and
obtained a warrant to Facebook for the contents of the Instagram communications of Minor
Victim #1. A review of records provided by Facebook show a steady stream of highly graphic
and sexually explicit communications between MORANCEY, using Instragram name
“the.love.experience,” and Minor Victim #1 well before MORANCEY picked up Minor Victim
#1 from her home in Michigan. For example, on July 18, 2019 at 01:37 UTC, MORANCEY
messaged Minor Victim #1: “I am going to cum on your [expletive], stick my [expletive] in it.
Then stick it in your mouth.” On July 23, 2019 at 21:29 UTC, MORANCEY messaged Minor

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Victim #1: “I am becoming a little concerned about me not being able to [expletive] you the first
night. I really want to make it special for you. But we are so worked up already. I don’t know if
we can stop ourselves.”

8. The Instagram records also reflect detailed communications from MORANCEY
explaining to Minor Victim #1 how to escape from her family home and avoid being found. For
example, on July 26, 2019 at 23:07 UTC, MORANCEY wrote: “I told you yesterday that all you
need to do it get rid of your sim card” and “They can log into it from another phone. You have to
change your passwords and delete your social media.”

9, The Warwick Police Department obtained a state warrant to search, among other
things, all electronic devices that were found in MORANCEY’S residence in Warwick, Rhode
Island. A forensic review of a Samsung Galaxy Tab S4 device found at that location revealed
seven images of child pornography of Minor Victim #1 in the photo gallery section. Three of
these images depicted the genitals of Minor Victim #1. The Metadata on these images shows that
they originated from Instagram with date stamps of July 18, 2019 at 9:36 p.m. and July 25, 2019
at 9:04 p.m. These images were sent by Minor Victim #1 to MORANCEY via Instagram.

10. Under Rhode Island General Law 11-37-6, a person is guilty of third degree
sexual assault if he or she is over the age of 18 years and engages in sexual penetration with
another person over the age of 14 years and under the age of 16 years.

11. There is therefore probable cause to believe that from on or about August 2,

2019 to August 3, 2019, in the District of Rhode Island, the Western District of Michigan and
elsewhere, defendant CHARLES MORANCEY did knowingly transport an individual who had
not attained the age of 18 years in interstate commerce, with intent that the individual engage in

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any sexual activity for which any person can be charged with a criminal offense, in violation of
18 U.S.C. § 2423(a) (Count One — Transportation of Minors with Intent to Engage in Criminal
Sexual Activity). There is also probable cause to believe that on or about July 18, 2019,
defendant CHARLES MORANCEY did knowingly receive any visual depiction using any
means or facility of interstate commerce, by any means, including by computer, if the producing
of such visual depiction involved the use of a minor engaging in sexually explicit conduct and
such visual depiction was of such conduct, in violation of 18 U.S.C. § 2252(a)(2) (Count Two —

Receipt of Child Pornography).

 

 

/ \ Kerri A. Chatten
\ FBI Task Force Officer

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HON. PATRICIA A. SULLIVAN
“UNITED STATES MAGISTRATE JUDGE
UNITED STATES DISTRICT COURT

 

 

 
